      Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 1 of 22
         E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




         IN THE DISTIRCT COURT OF POTTAWATTAMIE COUNTY, IOWA


 GREG ABLETT and                                   )                            Case No.
 MELISSA ABLETT,                                   )
                        Petitioner,                )
                                                   )
 v.                                                )                    ORIGINAL NOTICE
                                                   )
 TESLA, INC.,                                      )
                       Respondent                  )


TO THE ABOVE-NAMED DEFENDANT:


THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
       Therefore, unless the attached signature page contains a hearing date for your appearance,
or unless you obtain an exemption from e-Filing from the court, you must file your Appearance
and Answer electronically.
       You must register to e-File          through       the    Iowa Judicial          Branch
website at https://www.iowacourts.state.ia.us/EFile and obtain a log in and password for the
purposes of filing and viewing documents on your case and of receiving service and notices from
the court.
        FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING,
REFER TO THE IOWA COURT RULES CHAPTER 16 PERTAINING TO THE USE OF
THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM, also available on the Iowa
Judicial Branch website. FOR COURT RULES ON THE PROTECTION OF PERSONAL
PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA COURT RULES
CHAPTER 16.
         You are hereby notified that a petition has been filed in the office of the Clerk of this Court
naming you as the defendant in this action. A copy of the petition (and any documents filed with
it) is attached to this notice. The name and address of the attorney for the plaintiff is Cory R.
Wilson of Resolute Law LLC., whose address is: 14450 Meadows Blvd. Ste. 2, Omaha, NE 68138.
The attorney’s phone number is 531-721-2700.
        You must serve a motion or answer within 20 days after service of this original notice upon
you, and within a reasonable time, thereafter, file your motion or answer with the Clerk of Court
for Pottawattamie County, at the county courthouse in Council Bluffs, Iowa. If you require the
assistance of auxiliary aids or services to participate in court because of a disability, immediately
call your district ADA coordinator at (712) 328-5754. (If you are hearing impaired, call Relay
Iowa TTY at 1-800-735-2942.) Disability coordinators cannot provide legal advice.
    IMPORTANT: YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO
PROTECT YOUR INTERESTS.
                              1

                                                                                             EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 2 of 22
        E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




Dated October 4, 2023.
                                            GREG ABLETT and MELISSA
                                            ABLETT, Petitioners

                                     By: /s/ Cory Wilson
                                         Cory R. Wilson, AT0014075
                                         Resolute Law, LLC
                                         14450 Meadows Blvd. Suite 2
                                         Omaha, NE 68138
                                         (531) 721-2700
                                         cory.wilson@resolutelawllc.com




                                        2

                                                                          EXHIBIT A
       Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 3 of 22
             E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




             IN THE DISTIRCT COURT OF POTTAWATTAMIE COUNTY, IOWA


 GREG ABLETT and                                  )               Case No.
 MELISSA ABLETT,                                  )
                         Petitioner,              )
                                                  )
 v.                                               )               PETTITION AND DEMAND
                                                  )                  FOR JURY TRIAL
 TESLA, INC.,                                     )
                        Respondent                )


         COMES NOW, Petitioners, Greg and Melissa Ablett, and hereby allege as follows:

      1. Tesla, Inc. (“Tesla”) is, among other things, an electric-automobile manufacturer

headquartered in Austin, Texas.

      2. Tesla is Delaware corporation registered to do business in the state of Iowa.

      3. Greg and Melissa Ablett are residents of the state of Nebraska.

      4. All relevant events giving rise to this cause of action occurred in Pottawattamie County,

Iowa.

      5. In February of 2022, the Abletts purchased a used 2021 Tesla Model X

(VIN:5YJXCAE2XMF324764).

      6. At the time of purchase, the Abletts’ Model X was covered under Tesla’s Used Vehicle

Limited Warranty.

      7. In January of 2023, while still under warranty, the Abletts’ Model X began to exhibit

manufacturer defects involving the Model X’s electrical system primarily associated with the

operation of the Model X’s infotainment system, air conditioning system, falcon wing doors, driver

side door, and rear hatch. The manufacturer defects and the date upon which they occurred are as

set forth:




                                                  1
                                                                                         EXHIBIT A
Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 4 of 22
       E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




  A.        January 4, 2023   The infotainment center indicated there was an issue
                              with the driver side falcon door, while the vehicle was
                              under operation, despite the door being fully closed
                              and secure. The warning was persistent and continued
                              until the vehicle was stopped and the warning was
                              reset.

  B.        January 5, 2023   The falcon doors failed to open upon command and
                              would not open even upon use of the manual override
                              function. The infotainment center indicated that there
                              was an obstruction preventing the door from opening,
                              despite there being none. The Abletts’ daughter was
                              required to exit the vehicle by climbing into the front
                              of the cab and out the driver side door.

  C.        March 8, 2023     The falcon wing door failed to close upon command.
                              The infotainment center indicated there was an
                              obstruction when none existed.

  D.        March 10, 2023    The driver-side falcon wing door failed to close upon
                              command. The infotainment center indicated there
                              was an obstruction when none existed. Manual
                              override initially failed to close the door and had to
                              be attempted multiple times before door would close.

  E.        March 15, 2023    The passenger-side falcon wing door opened
                              spontaneously without command to do so. Later, this
                              same door refused to close despite commands to do
                              so. Again, there was no obstruction.

  F.        March 17, 2023    The driver’s door failed to open upon command
                              despite several attempts and there being no
                              obstruction.

  G.        March 18, 2023    The driver’s door failed to open upon command
                              despite several attempts and there being no
                              obstruction.

  H.        March 24, 2023    The driver’s door failed to open upon command
                              despite several attempts and there being no
                              obstruction

  I.        April 2, 2023     The driver-side falcon wing door failed to close
                              despite several attempts and there being no
                              obstruction. The door had to be closed using manual




                                          2
                                                                                   EXHIBIT A
Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 5 of 22
   E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




                         override. Again, infotainment center indicated the
                         presence of an obstruction.

  J.    April 7, 2023    The passenger-side falcon wing door failed to close
                         upon command, despite several attempts. The
                         infotainment center indicated there was an
                         obstruction despite there being none. Manual
                         override had to be used to close the door.

  K.    April 12, 2023   The air-conditioning system began malfunctioning
                         when it failed to cool the cab of the vehicle, despite
                         the infotainment center indicating the air-
                         conditioning system was operating.

  L.    April 23, 2023   Several events occurred on this date due to
                         manufacturer defects, including without limitation:

                            •   the front passenger restraint system faulted
                                without a passenger riding in the front seat,

                            •   the infotainment center indicated there was an
                                obstacle preventing the passenger-side falcon
                                wing door from operating on two separate
                                occasions, requiring manual override to
                                operate the door on both occasions,

                            •   the rear hatch failed to close upon demand and
                                required manual override despite there being
                                no obstacle, and

                            •   the driver-side falcon wing door opened
                                spontaneously in a parking lot while Mrs.
                                Ablett was shopping. A witness in the parking
                                lot came into the store to inform her that they
                                had witnessed the door open on its own.

  M.    April 26, 2023   The driver-side falcon wing door began making
                         audible warnings while Mrs. Ablett was operating her
                         Tesla over the road. There was no corresponding
                         warning given on the infotainment center.

  N.    April 30, 2023   The driver-side falcon wing door failed to operate
                         properly upon command.

  O.    May 3, 2023      Beginning on this date, the Abletts’ driver door
                         stopped opening correctly. Thereafter, the door had to


                                     3
                                                                             EXHIBIT A
Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 6 of 22
   E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




                         be opened manually for several weeks until it was
                         repaired.

  P.    May 6, 2023      The driver-side falcon wing door failed to open upon
                         command despite there being no obstacles.

  Q.    May 8, 2023      The air-conditioning system began to malfunction
                         again upon starting the Abletts’ Model X. The system
                         also began making a very loud and atypical noises.

  R.    May 10, 2023     The rear hatch failed to close upon command despite
                         there being no obstacle. Manual override was
                         required to close the hatch.

  S.    May 11, 2023     The infotainment center went completely dark while
                         Mrs. Ablett was driving her Tesla.

  T.    May 12, 2023     The rear hatch failed to close upon command despite
                         there being no obstacle. Manual override was
                         required to close the hatch.

  U.    May 13, 2023     The driver-side falcon door would not open fully
                         numerous times on this date despite there being no
                         obstruction or obstacle preventing the door’s
                         operation.

  V.    May 25, 2023     The rear hatch failed to close upon command, despite
                         there being no obstruction preventing the hatch’s
                         operation.

  W.    May 26, 2023     The infotainment center stopped working, causing
                         multiple systems to not operate throughout the
                         vehicle including the radio and air-conditioning
                         systems.

  X.    May 28, 2023     The cruise control malfunctioned on two separate
                         occasions while Mrs. Ablett was traveling at
                         approximately 65 miles per hour. More specifically,
                         the vehicle abruptly began breaking and then
                         accelerating despite there not being any nearby
                         vehicles. On this same date, the infotainment center
                         froze preventing the use of several systems.

  Y.    June 1, 2023     While parked in the Abletts’ garage, the rear hatch on
                         their Model X opened on its own. Mrs. Ablett found
                         the rear hatch partially open with the lights flashing



                                     4
                                                                             EXHIBIT A
 Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 7 of 22
     E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




                               on their vehicle. The key fob was secure, and there
                               was no apparent reason for the hatch being open.

   Z.       June 7, 2023       The rear hatch failed to close upon command. Again,
                               the vehicle indicated that there was an obstruction
                               when none existed. On this same date, the driver-side
                               falcon wing door failed to open upon command
                               despite there being no obstruction.

   AA.      June 9, 2023       The front passenger restraint system faulted while a
                               passenger was riding in the front seat and restrained.

   BB.      July 14, 2023      The falcon doors failed to open upon command and
                               would not open even upon use of the manual
                               override function. The infotainment center indicated
                               that there was an obstruction preventing the door
                               from opening, despite there being none. The Abletts’
                               daughter was required to exit the vehicle by
                               climbing into the front of the cab and out the driver
                               side door.

8. Each of the events described in Paragraph 7 above were immediately reported to Tesla and

   Tesla’s service technicians at 1110 Woodbury Ave. in Council Bluffs, Iowa.

9. To date, the Abletts’ Model X continues to experience the manufacturer defects described

   in Paragraph 7 despite Tesla’s repeated attempts to make repairs.



                                First Cause of Action:
                                 Breach of Warranty

10. At all relevant times, the Abletts Model X was covered by Tesla Inc.’s Used Vehicle

   Limited Warranty.

11. The Ablett’s Model X exhibited multiple manufacture defects as described in Paragraph 7

   above.

12. The manufacture defects described in Paragraph 7 above were at all relevant times

   covered by Tesla Inc.’s Used Vehicle Limited Warranty.




                                           5
                                                                                   EXHIBIT A
     Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 8 of 22
         E-FILED 2023 OCT 04 1:20 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




   13. Tesla Inc.’s Used Vehicle Limited Warranty expressly warranted to repair or remedy the

       manufacture defects described in Paragraph 7 above.

   14. The Abletts immediately reported the manufacture defects described in Paragraph 7 to

       Tesla Inc. upon each occurrence.

   15. Tesla Inc. presumably made multiple attempts to repair the manufacture defects described

       in Paragraph 7 above but failed or otherwise refused to make the proper and necessary

       repairs provided for in Tesla Inc.’s Used Vehicle Limited Warranty.

   16. As a direct and proximate cause of Tesla Inc.’s failure or refusal to make such necessary

       repairs, the Abletts have been damaged in an amount to be proven at trial.

   WHEREFORE, Petitioners pray for judgment against Tesla Inc., for general damages, plus

interest, costs, attorney’s fees and expenses as may be allowed by law, and for such further relief

as the Court may deem just and proper under the circumstances.

Dated October 4, 2023.
                                                     GREG ABLETT and MELISSA
                                                     ABLETT, Petitioners

                                            By: /s/ Cory Wilson
                                                Cory R. Wilson, AT0014075
                                                Resolute Law, LLC
                                                14450 Meadows Blvd. Suite 2
                                                Omaha, NE 68138
                                                (531) 721-2700
                                                cory.wilson@resolutelawllc.com




                                                 6
                                                                                         EXHIBIT A
               Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 9 of 22
                     E-FILED 2023 OCT 06 10:51 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                                  Case No.    LACV124566
                                                                      County      Pottawattamie

Case Title     GREG ABLETT AND MELISSA ABLETT V. TESLA, INC.

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (712) 328-4753 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 10/06/2023 10:51:54 AM




District Clerk of Court or/by Clerk's Designee of Pottawattamie   County
 /s/ Julie Walling

                                                                                                          EXHIBIT A
             Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 10 of 22
                     E-FILED       LACV124566 - 2023 OCT 06 11:22 AM       POTTAWATTAMIE
                                      CLERK OF DISTRICT COURT              Page 1 of 2


CA4013



State of Iowa, District Court POTTAWATTAMIE County




GREGORY DEAN ABLETT
MELISSA ABLETT                                      CASE NO. 04781 LACV124566

                                                     ORDER FOR INDIVIDUAL CASE ASSIGNMENT
      Plaintiff / Petitioner
 vs.
TESLA INC C T CORPORATION SYSTEM
     Defendant / Respondent




IT IS ORDERED:

Judge Margaret Reyes is designated as the Judge to preside over all future proceedings in this case.

If there are pending matters that should be determined before the trial/hearing, counsel shall promptly
bring those matters to the attention of the presiding Judge.




                               /s/ Coreen Gray, Judicial Specialist
                               712-328-5860



Copies to:


CORY WILSON




                                                                                       EXHIBIT A
Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 11 of 22
           E-FILED                     LACV124566 - 2023 OCT 06 11:22 AM   POTTAWATTAMIE
                                          CLERK OF DISTRICT COURT          Page 2 of 2




                                               State of Iowa Courts
Case Number                     Case Title
LACV124566                      GREG ABLETT AND MELISSA ABLETT V. TESLA, INC.
Type:                           OTHER ORDER
                                                          So Ordered




Electronically signed on 2023-10-06 11:22:07




                                                                                   EXHIBIT A
       Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 12 of 22
          E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




          IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY

  GREG ABLETT and                                  )
  MELISSA ABLETT,                                  )
                                                   )
                      Plaintiffs,                  )
                                                   )     Case No. LACV 124566
  v.                                               )
                                                   )     ANSWER AND AFFIRMATIVE
  TESLA, INC.,                                     )     DEFENSES
                                                   )
                      Defendant.                   )
                                                   )


         COMES NOW defendant Tesla, Inc. (hereinafter “defendant”), by and through its

undersigned attorneys, Stanton | Barton LLC, and for its Answer and Affirmative Defenses to

plaintiffs’ Petition at Law, states as follows:

         1.     Defendant admits that it is headquartered in Austin, Texas, but denies the

remainder of the allegations contained in Paragraph 1.

         2.     Defendant admits the allegations contained in Paragraph 2.

         3.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 3, and therefore denies the same.

         4.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 4, and therefore denies the same.

         5.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 5, and therefore denies the same.

         6.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 6, and therefore denies the same.




                                                                                         EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 13 of 22
         E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




        7.      Defendant denies the allegations contained in Paragraph 7, including subparts (A)

through (BB) thereto.

        8.      Defendant denies allegations contained in Paragraph 8.

        9.      Defendant denies the allegations contained in Paragraph 9.

                                   FIRST CAUSE OF ACTION:
                                    BREACH OF WARRANTY

        10.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 10, and therefore denies the same.

        11.     Defendant denies the allegations contained in Paragraph 11.

        12.     Defendant denies the allegations contained in Paragraph 12.

        13.     Defendant denies the allegations contained in Paragraph 13 to the extent that it

denies the existence of any manufacturing defects.

        14.     Defendant is without sufficient knowledge or information to admit or deny the

truth of the allegations contained in Paragraph 14, and therefore denies the same.

        15.     Defendant denies the allegations contained in Paragraph 15.

        16.     Defendant denies the allegations contained in Paragraph 16.

        WHEREFORE, defendant Tesla, Inc. having fully answered and provided its Answer and

Affirmative Defenses to plaintiffs’ Petition, prays that this action be dismissed with prejudice,

for a jury trial, for its attorneys’ fees and costs incurred herein, and for all such other and further

relief this Court deems appropriate.

                                   AFFIRMATIVE DEFENSES

        1.      By way of further answer and affirmative defenses, plaintiffs have failed to state a

claim upon which relief can be granted.




                                                   2

                                                                                             EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 14 of 22
          E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




        2.       By way of further answer and affirmative defenses, the Court lacks jurisdiction

over this defendant, and defendant expressly reserves the right to remove this case to federal

court based on diversity jurisdiction.

        3.       By way of further answer and as an affirmative defense, plaintiffs’ action is

barred or should be reduced by the doctrine of comparative negligence.

        4.       By way of further answer and as an affirmative defense, plaintiffs have failed to

exhaust administrative remedies prior to the initiation of this action.

        5.       By way of further answer and as an affirmative defense, defendant states that the

instant action is subject to a binding arbitration provision, that plaintiffs should have submitted

this dispute to arbitration per that provision, and that plaintiffs have failed to do so despite

contracting and/or agreeing with defendant to do so. Defendant hereby reasserts and preserves

its right to arbitrate this action.

        6.       By way of further answer, and as an affirmative defense, defendant states that

plaintiffs’ damages were due to the negligence, fault, comparative negligence, comparative fault,

carelessness, or any other “fault,” as defined by Iowa Code § 668.1, and any other applicable

law, of plaintiffs, and any recovery against defendant UPS, if any, should be reduced in

proportion to the relative degree of plaintiffs’ fault, or non-parties in accordance with Iowa Code

§ 668.3, et seq., and any other applicable law.

        7.       For further answer, and as an affirmative defense, defendant states that while

denying all negligence, fault or liability, any damages allegedly sustained by plaintiffs were

caused, in whole or in part, by the aforementioned contributory or comparative negligence, fault,

responsibility or causation and want of due care of others. Such negligence or fault of other such

persons was in greater proportion to the negligence or fault of defendant, if any. The



                                                   3

                                                                                             EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 15 of 22
          E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




comparative fault of these other persons outside the control of defendant is a complete bar to

recovery against defendant. Alternatively, defendant is entitled to a reduction of damages based

upon the percentage of said other persons’ negligence or fault.

        8.      By way of further answer and affirmative defense, defendant states that plaintiffs

had almost exclusive control over the maintenance and use of the subject vehicle and any

damages sustained since that date, as a result of misuse, abuse or other acts or omissions was the

fault of plaintiffs or others over whom defendant had no legal duty to control.

        9.      By way of further answer and as an affirmative defense, plaintiffs have not

alleged sufficient facts entitling them to attorneys’ fees and costs under 15 U.S.C. § 2310(d)(2)

or any other statute or law.

        10.     By way of further answer and as an affirmative defense, plaintiffs have not

        alleged any nonconformities, defects or conditions with the subject vehicle that impaired

        its use, value or safety.

        11.     By way of further answer and as an affirmative defense, defendant states that any

alleged nonconformities, defects, or conditions of the subject vehicle are the result of abuse,

neglect or unauthorized modification or alteration of the motor vehicle by the buyers.

        12.     By way of further answer and as an affirmative defense, plaintiffs have failed to

comply with the duties and conditions imposed upon consumers, including but not limited to

those duties and conditions set forth under 15 U.S.C. § 2304(b).

        13.     By way of further answer and as an affirmative defense, defendant is entitled to a

set off for plaintiffs’ use of the vehicle.

        14.     By way of further answer and as an affirmative defense, the warranty for the




                                                 4

                                                                                          EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 16 of 22
         E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




vehicle specifically limits the buyer’s remedies to repair or replacement and specifically excludes

any liability for incidental or consequential damages or attorney’s fees.

        15.     By way of further answer and as an affirmative defense, the subject vehicle has

been conformed to the applicable warranties because any alleged concerns have been previously

resolved prior to the filing of this lawsuit.

        16.     By way of further answer and as an affirmative defense, plaintiffs failed to

mitigate their damages, if any.

        17.     By way of further affirmative defense, plaintiffs’ Petition should be dismissed for

improper venue.

        18.     By way of further answer and affirmative defense, plaintiffs’ cause of action

and/or claims were not filed in good faith and/or were filed in bad faith, or solely for the purpose

of harassment, or in the absence of substantial justifiable issue of either law or fact raised by the

consumer, or for which the final recovery cannot be greater or more favorable than any

settlement offer made by the manufacturer prior to the commencement of the court action.

        19.     No privity of contract existed between the defendant and the plaintiffs, and

therefore plaintiffs’ claims are barred in whole or in part.

        20.     By way of further answer and affirmative defendant hereby adopts and

incorporates by reference, as if set forth herein in full, all defenses identified.

        21.     Defendant reserves its right to add or amend affirmative defenses as discovery

and investigation continues.

        WHEREFORE, defendant Tesla, Inc. having fully answered and provided its Answer and

Affirmative Defenses to plaintiffs’ Petition, prays that this action be dismissed with prejudice,




                                                   5

                                                                                           EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 17 of 22
         E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




for a jury trial, for its attorneys’ fees and costs incurred herein, and for all such other and further

relief this Court deems appropriate.

                                          JURY DEMAND

        COMES NOW defendant, by and through its attorneys, Stanton | Barton LLC, and

demands a trial by jury pursuant to Iowa Rule of Civil Procedure 1.902.


                                                STANTON | BARTON LLC

                                        By:     /s/ Todd Stanton
                                                Todd Stanton, #AT0010701
                                                Demi Jones, (pro hac vice to be submitted)
                                                8000 Maryland Avenue | Suite 450
                                                St. Louis, Missouri 63105
                                                Telephone: 314-455-6501
                                                Facsimile: 314-455-6524
                                                tstanton@stantonbarton.com
                                                djones@stantonbarton.com

                                                Attorneys for Defendant Tesla, Inc.


                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of November, 2023, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s electronic
filing system upon all parties.

         RESOLUTE LAW LLC
         Mr. Cory Wilson, AT0014075
         14450 Meadows Blvd. Suite 2
         Omaha, NE 68138
         Telephone: 531-721-2700
         cory.wilson@resolutelawllc.com

         Attorney for Plaintiffs



                                                /s/ Todd Stanton




                                                   6

                                                                                             EXHIBIT A
      Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 18 of 22
         E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




         IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY

 GREG ABLETT and                                )
 MELISSA ABLETT,                                )
                                                )
                    Plaintiffs,                 )
                                                )    Case No. LACV 124566
 v.                                             )
                                                )    ENTRY OF APPEARANCE
 TESLA, INC.,                                   )
                                                )
                    Defendant.                  )
                                                )


        COMES NOW Todd C. Stanton and Stanton | Barton LLC and hereby enter their

appearance on behalf of defendant Tesla, Inc.



                                            STANTON | BARTON LLC

                                     By:    /s/ Todd Stanton
                                            Todd Stanton, #AT0010701
                                            Demi Jones, (pro hac vice to be submitted)
                                            8000 Maryland Avenue | Suite 450
                                            St. Louis, Missouri 63105
                                            Telephone: 314-455-6501
                                            Facsimile: 314-455-6524
                                            tstanton@stantonbarton.com
                                            djones@stantonbarton.com

                                            Attorneys for Defendant Tesla, Inc.




                                                                                     EXHIBIT A
    Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 19 of 22
         E-FILED 2023 NOV 02 5:28 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of November, 2023, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s electronic
filing system upon all parties.

        RESOLUTE LAW LLC
        Mr. Cory Wilson, AT0014075
        14450 Meadows Blvd. Suite 2
        Omaha, NE 68138
        Telephone: 531-721-2700
        cory.wilson@resolutelawllc.com

        Attorney for Plaintiffs



                                             /s/ Todd Stanton




                                                 2

                                                                                         EXHIBIT A
             Case 1:23-cv-00031-SMR-WPK Document 1-1 Filed 11/13/23 Page 20 of 22
                   E-FILED 2023 NOV 03 9:40 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT




                                           RETURN OF SERVICE
                              In the IA District Court for POTTAWATTAMIE COUNTY COURT


                        GREG ABLETT                             VS                           TESLA INC

 Sheriff #: 23039004
 Case #: LACV124566
 Received: 11/1/2023
 Service Number: 203273


STATE OF IOWA POLK COUNTY } §

I certify that I served a copy of:
X ONP/Jury Demand

On: 11/2/2023 9:33:00 AM
To: TESLA INC by delivering a copy to MARCIE MILLER
         a person at least 18 years of age described as REGISTERED AGENT
Manner Served: REGISTERED AGENT
Address of Service: 400 E Court Ave STE 110 REG AGENT: CT CORP, Des Moines, IA 50309
Notes:

                                                  Attempts
 Date: 11/2/2023 9:33:00 AM
 Address: 400 E Court Ave STE 110 REG AGENT: CT CORP, Des Moines, IA 50309
 Note:




                                FEES                             Kevin J Schneider, Sheriff of Polk County, Iowa
                                                Total: $62.62




                                                                 Deputy/Server: Patrick Adamovicz




                                                                     Entered by Bonita Harper - 11/3/2023 9:12:38 AM.
                                                                                                           EXHIBIT A
            Case 1:23-cv-00031-SMR-WPK
                  E-FILED
                                         Document 1-1 Filed 11/13/23POTTAWATTAMIE
                                 LACV124566 - 2023 NOV 03 02:54 PM
                                                                      Page 21 of 22
                                           CLERK OF DISTRICT COURT                  Page 1 of 2

                 IOWA DISTRICT COURT IN AND FOR POTTAWATTAMIE COUNTY



GREGORY DEAN ABLETT
MELISSA ABLETT                                                     CASE NO: 04781 LACV124566

                                                                      NOTICE OF CIVIL TRIAL-
                                                                      SETTING CONFERENCE
VS.                                                                (Use of this form is mandatory.)

      TESLA INC C T CORPORATION SYSTEM



  To the parties or their attorneys of record:

   In accordance with Iowa Rule of Civil Procedure 1.906, notice is hereby given that a * Trial
Scheduling Conference is scheduled on 12/12/2023 at 3:30 PM (Telephonic ONLY: please call
at the DIRECTIONS BELOW INDICATED FOR SCHEDULING CONFERENCE.
*This date shall be no earlier than 35 days after and not later than 50 days after any Defendant/
Respondent has answered or appeared unless set sooner by special order on application of one or
more parties.

  This conference shall be held:

By telephone with Court Administration's conference line. All Attorneys/Pro Se Parties shall
contact the court at 1-877-304-9269 then enter conference code 527612 with Marsha Weberg,
Asst Court Administration, when prompted.              Attorneys for all parties appearing in the case
shall participate at this conference. Parties not represented by counsel shall participate in this
conference.

 Recording or rebroadcasting of a court proceeding held by video or telephone conference,
including pictures, screenshots, or other visual or audio copying, is prohibited absent an
expanded news media coverage order. Any violation may result in contempt of court or other
sanctions. Please note judicial branch staff may be recording this proceeding.


  At this trial-setting conference, every case will be set for trial within the time periods provided by
Iowa Court Rules Chapter 23, Time Standards for Case Processing.

  Prior to the trial-setting conference, the parties must file a Trial Scheduling
and Discovery Plan, Iowa Court Rule 23.5-Form 2 (Form 3 for Expedited Civil
Actions).

   In judicial districts that allow it, the parties may, in lieu of holding a trial-setting conference, first file
their Trial Scheduling and Discovery Plan and then, prior to the date scheduled for the trial-setting

                                                                                                  EXHIBIT A
           Case 1:23-cv-00031-SMR-WPK
                 E-FILED
                                        Document 1-1 Filed 11/13/23POTTAWATTAMIE
                                LACV124566 - 2023 NOV 03 02:54 PM
                                                                     Page 22 of 22
                                         CLERK OF DISTRICT COURT                  Page 2 of 2

conference, obtain a trial date from court administration that complies with the provisions of Chapter
23. The date will be entered by the Court on the Trial Scheduling and Discovery Plan.

  The trial date that is agreed upon at this conference shall be a firm date. Continuances will not be
granted, even if all parties agree, unless for a crucial cause that could not have been foreseen.

  The Clerk of Court shall notify all counsel of record and parties not represented by counsel.

                                                            /s/ Coreen Gray, Judicial Specialist
                                                            712-328-5860

If you need assistance to participate in court due to a disability, call the disability coordinator at (712)
328-4753 or information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay Iowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.




                                                                                                   EXHIBIT A
